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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

JOSE MORENO, Individually and On Behalf                     NOTICE OF APPEARANCE
of All Others Similarly Situated,,

       Plaintiff,

vs.

POLARITYTE, INC., DENVER LOUGH, and                       Case No. 2:18-CV-00510-JNP-PMW
JEFF DYER,
                                                                Judge Jill N. Parrish
       Defendants.

       Sarah Elizabeth Spencer, of the law firm of CHRISTENSEN & JENSEN, hereby enters her

appearance on behalf of Movant Michael A. Motto. Undersigned counsel requests that she be

served with copies of all documents filed in this case.

       DATED this 27th day of August, 2018.

                                                      CHRISTENSEN & JENSEN, P.C.




                                                      Sarah Elizabeth Spencer
                                                      Bryson R. Brown
                                                      Attorneys for Movant
